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                                         10                        UNITED STATES DISTRICT COURT
                                                                 SOUTHERN DISTRICT OF CALIFORNIA
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HYDE & SWIGART
                 San Diego, California




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                                                  DYLAN THORINGTON,                                  Case No.: 3:16-cv-02996-BTM-BLM
                                         14
                                         15                              Plaintiff,
                                                  v.                                                 NOTICE OF SETTLEMENT
                                         16
                                         17       SECURITY NATIONAL
                                                  AUTOMOTIVE ACCEPTANCE
                                         18       COMPANY, LLC; and PROBER
                                         19       & RAPHAEL, A LAW
                                                  CORPORATION,
                                         20
                                         21                              Defendants.

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                                                Notice of Settlement                          - 1 of 2 -                      3:16-cv-02996-BTM-BLM
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                                          1            NOTICE IS HEREBY GIVEN that this case has been settled in its entirety.
                                          2     The Parties anticipate filing a Joint Motion for dismissal of this action in its entirety
                                          3     with prejudice within 60 days. Plaintiff requests that all pending dates and filing
                                          4     requirements be vacated and that the Court set a deadline on or after April 10, 2017
                                          5     for filing a joint dismissal.
                                          6
                                          7     Respectfully submitted,
                                          8
                                                Date: February 7, 2017                                        HYDE & SWIGART
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                                         10
                                                                                                        By: s/Jessica R. K. Dorman
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                                                                                                           Jessica R. K. Dorman
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                                                Notice of Settlement                          - 2 of 2 -                      3:16-cv-02996-BTM-BLM
